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                                    STATEMENT OF FACTS

        Your affiant, Lydia Simonaire, is a Special Agent with the United States Secret Service
assigned to the Federal Bureau of Investigation (“FBI”) Joint Terrorism Task Force. In my duties
as a Special Agent, I have received training and gained experience in a variety of criminal laws
and procedures. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law and/or
by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

         On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of
Representatives and U.S. Senate, including the President of the Senate, Vice President Mike Pence,
were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the U.S.
Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained
in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the sessions
resumed.
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                                 FACTS SPECIFIC TO THIS CASE

        Subsequent to January 6th, on January 13, 2021, the FBI received an anonymous tip stating
that Luke Wessley Bender (“BENDER”) was inside of the Capitol on January 6, 2021. The tipster
wrote, “Luke Bender was bragging about being present during the insurrection at the US Capitol
on 1/6/2021. He has photos of himself and with others inside of the US Capitol Building. Some of
the people he has photos with have already been arrested for their participation in this
insurrection.” The tipster additionally wrote that s/he worked with BENDER at Mid Atlantic
Utility Locating, located in Ashburn, Virginia.

       On January 14, 2021, the FBI received another tip from a witness (“W-1”) regarding
BENDER. W-1 stated that s/he went to high school with BENDER and provided a screenshot of
an Instagram account believed to belong to BENDER, stating, “Here’s an Instagram post of
someone I know. It doesn’t show anyone in the capital, but he was definitely there.”

        Your affiant reviewed open sources regarding BENDER, including a Facebook profile
believed to belong to BENDER. As depicted below, the account profile page has a post supportive
of the events of January 6, 2021, and lists BENDER’s workplace as Mid Atlantic Utility Locating,
the same employer listed by the anonymous tipster.
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        BENDER’s Facebook page also lists an Instagram account, which is the same account
provided by W-1. Both the Facebook and Instagram accounts are associated with a phone
number ending in 4966. The account holder of the 4966 Number is BENDER’s mother, also
residing in Fairfax Station, Virginia.

         The Instagram account has publicly visible posts, including a post from January 6, 2021,
containing a video taken from the top of the Capitol building scaffolding. The video shows
individuals entering the Capitol building and a male voice states, “We’re storming the Capitol.”
As depicted below, the caption for the post states, “Today was something special if you were
there. It was great to be apart of it. #trump2020 #trump #dc #capital.”
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       BENDER’s Facebook account also lists his TikTok page, which includes videos taken prior
to January 6th.




       The account also includes videos from January 6th, from the Capitol scaffolding.




         The TikTok page also contains videos of the exterior of the Capitol on January 6, 2021. In
addition, the account contains a photo of BENDER and another individual standing across the
street from the Capitol. In the photo, depicted below, BENDER is carrying a small American flag
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and wearing a black hat, tan boots, dark pants, and a camouflage jacket over a sweatshirt with a
white “M” on the right. Based on the U.S. Capitol in the background, BENDER’s clothing, and
groups of people behind BENDER, your affiant believes this photograph was taken on January 6,
2021.




       A closeup of the image is below:




       Your affiant was able to obtain records, including a photograph of BENDER, from the
Virginia Department of Motor Vehicles, and confirm that the person depicted in BENDER’s
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driver’s license photograph bears a strong resemblance to the person depicted in BENDER’s social
media accounts, as depicted below, and the individual identified in the security footage at the
Capitol.




       Your affiant also reviewed videos from inside the Capitol on January 6, 2021, which show
an individual matching BENDER’s description and wearing identical clothing, without the hat.
As depicted below, BENDER can be seen walking in the Rotunda of the U.S. Capitol.




     BENDER also walked down the hallway in the East Front Corridor, towards the Senate
Chamber.
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                               Photograph 1

As seen below, BENDER walked inside of the Senate chamber.




                               Photograph 2
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                                       Photograph 3

       Photograph 4 depicts BENDER inside of the Senate chamber, with the white “M” on his
sweatshirt clearly viewable.




                                       Photograph 4
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       BENDER appeared to use his phone to photograph documents within the Senate Chamber.




       BENDER stood on the dais on the Senate floor.




       On May 13, 2021, FBI interviewed W-1 and showed W-1 Photographs 1 through 4. W-1
was able to identity the indicated individual as BENDER.

        On June 20, 2021, FBI received a tip from another witness (“W-2”). W-2 informed FBI
that although s/he did not know BENDER personally, W-2 reviewed open source photographs of
BENDER inside of the Capitol and believed that the person matched the person in a video of the
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march to the Capitol on January 6, 2021. Your affiant believes that the video, screenshots of which
are below, depicts BENDER in the same attire as in his TikTok photograph, as well as in
surveillance from inside of the U.S. Capitol (without the hat).




        Based on the foregoing, your affiant submits that there is probable cause to believe that
BENDER violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that BENDER violated 40
U.S.C. §§ 5104(e)(2)(A), (D) and (G), which makes it a crime to willfully and knowingly (A) enter
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or remain on the floor of either House of Congress or in any cloakroom or lobby adjacent to that
floor, in the Rayburn Room of the House of Representatives, or in the Marble Room of the Senate,
unless authorized to do so pursuant to rules adopted, or an authorization given, by that House; (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Finally, your affiant submits there is probable cause to believe that BENDER violated 18
U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.


                                                      _________________________________
                                                      Lydia Simonaire
                                                      Special Agent
                                                      United States Secret Service

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of July 2021
                                                                      2021.07.26
                                                                      11:40:59 -04'00'
                                                    _____________________________________
                                                    HONORABLE ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
